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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      Criminal Action 21-cr-537-1 (JMC)
               v.                             :
                                              :
RYAN SAMSEL, et al.                           :
                                              :
                       Defendants.            :

                                             ORDER

        Upon consideration of the United States’ motion seeking to extend the previously ordered

deadline for the independent medical evaluation of defendant Ryan Samsel, the Court finds good

cause for the extension. According to the motion, the defendant will not be released from a

quarantine imposed as a precaution against the spread of covid-19 before May 31, 2022 at the

earliest. The government components handling the logistics, transportation, and security involved

with the evaluation of a defendant outside of a Bureau of Prisons facility will need additional time

to address arrangements for the evaluation. Each of these factors constitute good cause for some

further delay. Accordingly, it is hereby

        ORDERED, that the motion is GRANTED, and it is further

        ORDERED, that the defendant’s independent medical evaluation shall occur on or before

June 14, 2022; and it is further

        ORDERED that the United States Marshals, Bureau of Prisons, or government counsel

shall notify defense counsel three (3) days before transfer of the defendant to or from any

appropriate Bureau of Prisons facility until conclusion of the independent medical evaluation.

Date:                                         _______________________________
                                              JIA M. COBB
                                              UNITED STATES DISTRICT JUDGE
